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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,

        Plaintiffs,

 v.                                            Case No. 8:18-cv-02869-VMC-CPT

 CHRISTOPHER FRANKEL,

        Defendant.
                                         /




                           EXHIBIT A

      Plaintiffs’ First Set of Interrogatories
                   to Defendant
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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 CAYMAN SECURITIES CLEARING
 AND TRADING LTD; THE HURRY
 FAMILY REVOCABLE TRUST;
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION; and ALPINE SECURITIES
 CORPORATION,
                                                      CASE NO.: 8:18-cv-02869-VMC-CPT
         Plaintiffs/Counter-Defendants,

 vs.

 CHRISTOPHER FRANKEL,

       Defendant/Counter-Plaintiff.
 ____________________________________/


               PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO DEFENDANT

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, plaintiffs Cayman

 Securities Clearing and Trading LTD, The Hurry Family Revocable Trust, Scottsdale Capital

 Advisors Corporation, and Alpine Securities Corporation, by their undersigned counsel, hereby

 serves the following set of interrogatories (the “Interrogatories”) on defendant Christopher

 Frankel. Each of the following Interrogatories shall be answered separately and under oath in

 accordance with the definitions and instructions set forth below.

                                          DEFINITIONS

         1.      “Alpine” shall mean Alpine Securities Corporation and all of its employees, agents,

 officers, members, representatives, attorneys and/or any other person who has acted or purported

 to act for or on its behalf.

         2.      “Plaintiffs” shall mean plaintiffs Cayman Securities Clearing and Trading LTD,

 The Hurry Family Revocable Trust, Scottsdale Capital Advisors Corporation, and Alpine

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 Securities Corporation and each of them, and all of their employees, officer, members, agents,

 representatives, attorneys and/or any other person who has acted or purported to act for or on their

 behalf.

           3.     “You” and “Your” shall mean defendant Christopher Frankel and all of his

 employees, agents, representatives, attorneys and/or any other person who has acted or purported

 to act for or on his behalf.

           4.     The term “identify” shall mean and require the production of the following

 information:

           a. As to a person, state the full name, present or last known residential and business address

and phone number(s), and such person’s relationship, if any, to you.

           b. As to an entity, state the current name for the entity, its principal office address and

 telephone number and the name of the person with whom most of the communications with such

 entity are made or the name of the person whom the party responding to the interrogatory believes

 would have personal knowledge regarding the information sought in the interrogatory.

           c. As to a document, state the type of document identified, its author(s) and their title and

 position, the date such document was created, a general description of the subject matter of the

 document, and the present location of such document.

           d. As to a communication or meeting, the date of the communication or meeting, the

 identity of all parties to the communication or meeting, the subject matter of the communication

 or meeting and general substance of the communication or meeting.

                                            INSTRUCTIONS

           1.     In the event that any information within the scope of these requests is privileged,

 You are required to identify the asserted privilege. To the extent only a portion of the information



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 is claimed to be privileged, You are required to identify the asserted privilege and provide the

 unprivileged information within the scope of the request.

         2.      Each paragraph herein shall be construed independently and not with reference to

 any other paragraph for the purpose of limitation.

         3.      The use of capital letters, lower case letters or quotation marks in these Requests

 shall not be construed to limit the scope of any specific request contained herein.

         4.      The use of the singular form of a word includes the plural and vice versa.

         5.      These Requests are continuing in nature and You are obligated to produce

 additional documents or information whenever they are acquired, discovered or come into

 existence after the date of the initial response.

                                       INTERROGATORIES

         1.      Identify all email addresses You have used since June 1, 2015.

         2.      Identify all current or former clients of Plaintiffs with whom You have

 communicated since August 1, 2018.

         3.      Identify all financial institutions that currently have or previously had

 relationships with Plaintiffs with whom You have communicated since August 1, 2018.

         4.      Identify all broker-dealers that You have contemplated purchasing, whether

 directly, indirectly, in whole or in part, since August 1, 2018.

         5.      Identify the date, time, place, and a summary of all oral communications between

 You and Steve Mashawar since August 1, 2018.

         6.      Identify the date, time, place, and a summary of all oral communications between

 You and Carlos Montoya since August 1, 2018.

         7.      Identify the date, time, place, and a summary of all oral communications between

 You and Jim Kelly since August 1, 2018.



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        8.     Identify the date, time, place, and a summary of all oral communications between

 You and Austin Trust Company or its employees, officers, members, or representatives, since

 August 1, 2018.


 Dated: January 15, 2019
                                            Respectfully submitted,


                                            /s/ Jordan Susman
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